       TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN


                                      NO. 03-24-00415-CV




                                            In re T.F.




                  FROM THE 22ND DISTRICT COURT OF HAYS COUNTY
           NO. 23-1148, THE HONORABLE R. BRUCE BOYER, JUDGE PRESIDING



                            MEMORANDUM OPINION


               Relator, T.F., filed a writ of mandamus requesting that we order the trial court to

hold a de novo hearing concerning an order by an associate judge. Relator also filed a motion in

the trial court requesting a hearing be set for August 7, 2024, which setting was granted. We

abated this original proceeding on July 17, 2024, pending the hearing date. We also ordered

relator to file a status letter with this Court by August 14, 2024, informing us about the status of

the hearing. Since that date has now passed, we reinstate this original proceeding. Although we

have not received an update from relator, we have been informed by the trial court clerk that

relator’s requested de novo hearing was held by the trial court on August 7th. Because relator’s

requested relief has been granted, we dismiss the petition for writ of mandamus as moot. See

In re Luna, 317 S.W.3d 484, 484 (Tex. App.—Amarillo 2010, orig. proceeding); see also In re

Gonzales, No. 03-12-00611-CV, 2013 WL 238736, at *1 (Tex. App.—Austin Jan. 17, 2013,

orig. proceeding).
                                            __________________________________________
                                            Darlene Byrne, Chief Justice

Before Chief Justice Byrne, Justices Triana and Kelly

Dismissed

Filed: August 27, 2024




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